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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA          :     Crim No. 05-467

           v.                     :     Hon. Dennis M. Cavanaugh

EDWIN SANCHEZ LORENZO             :     UNSEALING ORDER
     and
ROBERTO GALAN                     :



     This matter having come before the Court on the application

of the United States of America (Andrew Carey, Assistant U.S.

Attorney, appearing) for an order that the original indictment

filed in the above-captioned matter be unsealed; and the

indictment having become unsealed by virtue of the arrest of the

defendants; and for good cause shown,

     IT IS ON this 13th day of December, 2010

     ORDERED that the original indictment filed in the above-

captioned matter is unsealed.



                                         S/ DENNIS M. CAVANAUGH
                                        HON. DENNIS M. CAVANAUGH
                                        UNITED STATES DISTRICT JUDGE
